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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

03 MDL 1570 (GBD) (FM)

In Re: Terrorist Attacks on September 11, 2001 NOTICE OF

CHANGE OF

ADDRESS FOR COUNSEL
FOR THE REPUBLIC OF
IRAQ

PLEASE TAKE NOTICE THAT the address of Baker & Hostetler LLP,
attorneys for Defendant THE REPUBLIC OF IRAQ has changed, and effective immediately, all
notices, correspondence and pleadings should be addressed as follows:

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Dated: New York, New York
June 5, 2007
BAKER & HOSTETLER LLP

By: /S/_ Marc D. Powers
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